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  1   FRALEY & ASSOCIATES
      Franklin R. Fraley, Jr.—SBN 151879
  2   Ste. 180
      680 E. Colorado Blvd.
  3   Pasadena CA 91101
      Tel    213.393.2520
  4   cmecf@fraleylaw.com
  5   Attorneys for Creditor and Plaintiff
      REVERE FINANCIAL CORPORATION
  6
  7
  8                               UNITED STATES BANKRUPTCY COURT
  9                                CENTRAL DISTRICT OF CALIFORNIA

 10                                         (Riverside Division)
 11   In re                                        Bk. No. 6:13-bk-27611-MH
 12   DOUGLAS J. ROGER, an individual,             Related Bk. No. 6:13-bk-27344-MH
                                                   Related Bk. No. 6:13-bk-27610-MH
 13                  Debtor.
                                                   Chapter 7
 14
                                                   STIPULATION BY ALL PARTIES TO
 15                                                CONTINUE STATUS CONFERENCE AND
                                                   STAY CLAIM OBJECTION PENDING
 16                                                SETTLEMENT NEGOTIATIONS
 17                                                  Current Status Conference
                                                     Date:    2021-04-28
 18                                                  Time:    2:00 p.m. PDT
                                                     Place: Ctrm. 303
 19
                                                     Proposed Continued Status Conference
 20                                                  Date:   2021-06-30
                                                     Time:   2:00 p.m. PDT
 21                                                  Place: Ctrm. 303
 22
 23
 24
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  1                                            I.       INTRODUCTION
  2          To the Honorable Bankruptcy Court:
  3          The Stipulating Parties, identified below, enter into this Stipulation by All Parties to
  4   Continue Status Conference and Stay Claim Objection Pending Settlement Negotiations, dated 21
  5   April 2021 (the “Stipulation”), and respectfully request that the Bankruptcy Court approve the
  6   Stipulation by entering the order that the Stipulating Parties lodged.
  7                                            II.      STIPULATION
  8   A.     Parties
  9          The following persons enter into this Stipulation:

 10                    1.     Creditor Revere Financial Corporation (“RFC”); and
 11                    2.     Debtor Douglas J. Roger
 12   (together, the “Stipulating Parties”).
 13   B.     Recitals
 14          1.        Pursuant to prior stipulations and orders, the Bankruptcy Court has continued the
 15   status conference on Roger’s objection to RFC’s claim in this case to the current date of 28 April
 16   2021 at 2:00 p.m. PDT.
 17          2.        The Stipulating Parties previously agreed in principle through their attorneys of
 18   record on the essential terms of a settlement.
 19          3.        The Stipulating Parties have now agreed in principle through their attorneys of

 20   record on text for all settlement terms, completed/reviewed drafts of all settlement documents,
 21   and are ready to generate signature versions of all settlement documents.
 22          4.        Unfortunately, the Stipulating Parties have been awaiting responses from the
 23   Chapter 7 Trustee regarding information/documents on issues that may affect the signature
 24   versions of the settlement documents, closing, and performance, which prevented RFC from
 25   closing the proposed settlement.               The Chapter 7 Trustee only recently provided the
 26   documents/information that RFC requested, which RFC is now reviewing, but has not yet

 27   completed, and requires some time to do so and resolve any remaining issues with the Chapter 7
 28   Trustee.
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  1          5.      So, the Stipulating Parties cannot yet close the settlement, but still expect to do so,
  2   which will result in the dismissal of the claim objection.
  3          6.      Because the Stipulating Parties do not wish to waste time/resources on litigating
  4   the claim objection, the Stipulating Parties wish to continue the 28 April 2021 status conference
  5   and stay the claim objection to 30 June 2021 to allow the Stipulating Parties to complete the
  6   settlement and to coincide with proceedings in related matters.
  7   C.     Agreement
  8          In the interest of judicial and party economy and efficiency, therefore, the Stipulating
  9   Parties jointly agree/request that the Bankruptcy Court:

 10                  •       continue the 28 April 2021 status conference to 30 June 2021 at 2:00 p.m.
 11          PDT or a date after that which is convenient to the Bankruptcy Court; and
 12                  •       stay the claim objection through 30 June 2021 or the date to which the
 13          Bankruptcy Court continues the status conference.
 14                                         III.    SIGNATURES
 15   Dated: 2021-04-21                             Respectfully submitted,
 16                                                 FRALEY & ASSOCIATES
                                                    Attorneys at Law
 17
 18                                                 By:    /s/ Franklin R. Fraley, Jr.
                                                           Franklin R. Fraley, Jr.
 19                                                 Attorneys for Plaintiff and Creditor
                                                    REVERE FINANCIAL CORPORATION
 20
 21                                                 GOE & FORSYTHE, LLP
 22
                                                    By:
 23                                                        Marc Forsythe
                                                    Attorneys for Debtor         and    Defendant
 24                                                 DOUGLAS J. ROGER
 25
 26

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  1                              PROOF OF SERVICE OF DOCUMENT
  2         I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
      My business address is:
  3
             Fraley & Associates
  4          Ste. 180
             680 E. Colorado Blvd.
  5          Pasadena CA 91101
  6          A true and correct copy of the foregoing documents entitled (specify):
  7          STIPULATION BY ALL PARTIES TO CONTINUE STATUS
             CONFERENCE AND STAY CLAIM OBJECTION PENDING
  8          SETTLEMENT NEGOTIATIONS
  9   will be served or was served (a) on the judge in chambers in the form and manner
      required by LBR 5005-2(d); and (b) in the manner stated below:
 10
 11   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
      Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
 12   court via NEF and hyperlink to the document. On (date) 2021-04-26 I checked the CM/ECF
      docket for this bankruptcy case or adversary proceeding and determined that the following
 13   persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
      stated below:
 14
      Thomas J Eastmond on behalf of Defendant Douglas J Roger, MD
 15   teastmond@goeforlaw.com, kmurphy@goeforlaw.com
 16
      Marc C Forsythe on behalf of Defendant Douglas J Roger, MD
 17   kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com

 18   Franklin R Fraley, Jr on behalf of Plaintiff Revere Financial Corporation, a California
      corporation
 19   cmecf@fraleylaw.com
 20
      Franklin R Fraley, Jr on behalf of Plaintiff Jerry Wang
 21   cmecf@fraleylaw.com

 22   Helen R. Frazer (TR)
      hfrazertrustee@gmail.com, mbuenaventura@aalrr.com;C112@ecfcbis.com
 23
 24   Chad V Haes on behalf of Attorney Courtesy NEF
      chaes@marshackhays.com, 8649808420@filings.docketbird.com
 25
      Chad V Haes on behalf of Interested Party A. Cisneros
 26   chaes@marshackhays.com, 8649808420@filings.docketbird.com
 27   Chad V Haes on behalf of Plaintiff A. Cisneros
 28   chaes@marshackhays.com, 8649808420@filings.docketbird.com
                                                      -4-
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  1
      D Edward Hays on behalf of Attorney Courtesy NEF
  2   ehays@marshackhays.com, 8649808420@filings.docketbird.com
  3
      D Edward Hays on behalf of Plaintiff A. Cisneros
  4   ehays@marshackhays.com, 8649808420@filings.docketbird.com

  5   Anthony J Napolitano on behalf of Plaintiff Jerry Wang
      anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
  6
  7   Summer M Shaw on behalf of Defendant Douglas J Roger, MD
      ss@dshapc.com, ecf4jdlaw@gmail.com;shawsr70161@notify.bestcase.com
  8
      United States Trustee (RS)
  9   ustpregion16.rs.ecf@usdoj.gov
 10                                                                        Service information continued
      on attached page
 11
      2. SERVED BY UNITED STATES MAIL:
 12   On (date)_ _______, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
 13   sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
      Listing the judge here constitutes a declaration that mailing to the judge will be completed no
 14   later than 24 hours after the document is filed.
 15                                                                        Service information continued
      on attached page
 16
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
 17   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
      F.R.Civ.P. 5 and/or controlling LBR, on (date)             I caused a runner to serve the following
 18   persons and/or entities by personal delivery, overnight mail service, or (for those who consented
      in writing to such service method), by facsimile transmission and/or email as follows. Listing the
 19   judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will
      be completed no later than 24 hours after the
 20   document is filed.
 21   Courtesy Copy to Chambers: Not sent pursuant to General Order No. 20-12, ¶ 7 (entered
      2020-12-08) and General Order No. 21-02 (entered 2021-01-29)
 22
 23                                                                        Service information continued
      on attached page
 24
      I declare under penalty of perjury under the laws of the United States that the foregoing is true
 25   and correct.
 26   2021-04-26             Franklin R. Fraley, Jr.                  /s/ Franklin R. Fraley, Jr.
       Date                   Printed Name                            Signature
 27
 28
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          STIP CONTINUE STATUS CONF/STAY CLAIM OBJ PENDING SETTLEMENT—2021-04-28
